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           9
                                        UNITED STATES DISTRICT COURT
          10
                                    CENTRAL DISTRICT OF CALIFORNIA
          11
                                               SOUTHERN DIVISION
          12

          13 MASSACHUSETTS BAY                                   CASE NO.: 8:21-cv-00607-DOC-JDE
               INSURANCE COMPANY,
          14
                                  Plaintiff,                     PLAINTIFF’S NOTICE OF
          15                                                     APPEAL
                     v.
          16
             NEUROPATHY SOLUTIONS, INC.
          17 dba SUPERIOR HEALTH CENTERS,

          18               Defendant.
          19

          20

          21
                     Notice is hereby given that Plaintiff Massachusetts Bay Insurance Company
          22
               appeals to the United States Court of Appeals for the Ninth Circuit from the Order
          23
               and resulting Judgment Granting Defendant’s Motion for Judgment on the Pleadings,
          24
               entered in this action on February 9, 2022 (ECF No. 82) and attached hereto as
          25
               Exhibit A. The Order and Judgment resulted in a dismissal with prejudiced, which
          26
               terminated the action.
          27
                     Plaintiff’s Representation Statement is attached to this Notice of Appeal as
          28
1919102                                                          -1-
                                   Plaintiff’s Notice of Appeal—Case No. 8:21-cv-00607-DOC
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     1 Exhibit B, pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and

     2 Ninth Circuit Rule 3-2.

     3 Dated: March 9, 2022                  HAYES SCOTT BONINO ELLINGSON
                                             GUSLANI SIMONSON & CLAUSE, LLP
     4

     5
                                             By: /s/ Ryan Z. Keller
     6                                           STEPHEN M. HAYES
                                                 RYAN Z. KELLER
     7                                           CHARLES E. TILLAGE
                                                 Attorneys for Plaintiff
     8                                           MASSACHUSETTS BAY INSURANCE
                                                 COMPANY
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                           Plaintiff’s Notice of Appeal—Case No. 8:21-cv-00607-DOC
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                             EXHIBIT A
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-00607-DOC-JDE                                  Date: February 9, 2022

  Title: MASSACHUSETTS BAY INSURANCE COMPANY v. NEUROPATHY
         SOLUTIONS, INC., ET AL.

  PRESENT: THE HONORABLE DAVID O. CARTER, U.S. DISTRICT JUDGE

                Karlen Dubon                                 Not Present
               Courtroom Clerk                               Court Reporter

        ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
              PLAINTIFF:                                 DEFENDANT:
             None Present                                 None Present


        PROCEEDINGS (IN CHAMBERS): ORDER DENYING PLAINTIFF’S
                                   MOTION FOR JUDGMENT ON
                                   THE PLEADINGS [64] AND
                                   GRANTING DEFENDANT’S
                                   MOTION FOR JUDGMENT ON
                                   THE PLEADINGS [68]

         Before the Court are Plaintiff Massachusetts Bay Insurance Company’s (“MBIC”
  or “Plaintiff”) Motion for Judgment on the Pleadings (“Pl. Mot.”) (Dkt. 64) and
  Defendant Neuropathy Solutions, Inc.’s (“Neuropathy” or “Defendant”) Motion for
  Judgment on the Pleadings (“Def. Mot.”) (Dkt. 68). The Court finds the matter
  appropriate for resolution without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 7-15.
  Having reviewed the moving papers and considered the parties’ arguments, the Court
  DENIES MBIC’s Motion and GRANTS Neuropathy’s Motion. The hearing scheduled
  for February 11, 2022 is VACATED.

  I.    Background

            A. Facts

         This case arises out of an underlying lawsuit brought against Neuropathy in state
  court by a former patient. See generally Second Amended Complaint (“SAC”) (Dkt. 50).
  MBIC insured Neuropathy under a Commercial General Liability policy, then defended
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  Neuropathy in the underlying lawsuit and made a payment to settle the suit. Id. In this
  action, MBIC seeks judgments declaring that (1) MBIC did not have a duty to defend
  Neuropathy in the underlying lawsuit; (2) MBIC did not have a duty to indemnify
  Neuropathy in the underlying lawsuit; and (3) Neuropathy is obligated to reimburse
  MBIC for the defense and settlement costs MBIC incurred in connection with the
  underlying lawsuit. Id.

              i.   Underlying Lawsuit

          On September 9, 2020, Rigobertal Bernal and Marilena Bernal (“the Bernals”)
  filed an action (“Bernal Action”) against Dr. Ralph Highshaw, Elite Medical Group, PC
  (“EMG”), Neuropathy, and Nurse Alexa Benson, asserting causes of action for
  negligence, loss of consortium, financial elder abuse, and fraud. SAC ¶ 10. On May 12,
  2021, the Bernals filed their First Amended Complaint (“Bernal FAC”) (Dkt. 19-3). The
  Bernal FAC characterized the Action as arising “from a series of falsely advertised,
  recklessly administered, non-FDA approved ‘stem cell’ injections Mr. Bernal received
  that nearly killed him and left him a permanent paraplegic from the waist down.” Bernal
  FAC ¶ 1. The Bernals alleged that Neuropathy created deceptive advertisements stating
  that “stem cell” treatments would cure knee pain. Id. ¶ 4. After viewing the
  advertisements, Mr. Bernal called Neuropathy and was given an appointment to meet
  with Neuropathy employees. Id. Mr. Bernal attended a meeting with Neuropathy sales
  agents who, allegedly unbeknownst to Mr. Bernal, were not medical professionals. Id.
  The Neuropathy sales agents informed Mr. Bernal that he had osteoarthritis in his knees
  and that stem cell injections, which they assured him were safe and legal to sell and use,
  would alleviate his pain. Id. ¶ 5. Mr. Bernal allegedly agreed to proceed with the
  injections based on these representations and was told that the only way to obtain the
  injections was to finance them at a cost of $13,250, an amount that is allegedly far
  greater than the customary rates for such treatment. Id. ¶ 6-7. Neuropathy then allegedly
  passed on the task of performing the injections to EMG and its employees, who were
  allegedly unqualified to perform or oversee the treatment. Id. ¶ 10. The Bernals alleged
  that the injections, which took place in Neuropathy’s offices, did not contain live stem
  cells but rather a product that was not legal to sell or use pursuant to FDA regulations.
  Id. ¶ 12. The injections were allegedly performed without proper medical
  recommendation, proper physician oversight, complete medical disclosures, informed
  consent, or adherence to proper sterile or clean technique. Id. After the treatment, Mr.
  Bernal allegedly went into septic shock, endured numerous surgeries, and is now a
  permanent paraplegic. Id. ¶ 13. The Bernals also allege that Neuropathy targeted Mr.
  Bernal for high-pressure sales techniques because he was elderly and Hispanic, and that
  “Mr. Bernal has suffered injury both to his reputation and feelings due to Superior
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  Health Centers’ targeting of him (whether intentional or not) based on his age and race.”
  Id. ¶ 61-62.

             ii.   The Management Services Agreement between Neuropathy and
                   EMG

         At the time of Mr. Bernal’s injury, Neuropathy served as a Manager for EMG’s
  medical practice pursuant to a “Management Services Agreement” (the “Agreement”).
  Def. Mot. at 6; Decl. of Reid A. Winthrop, (“Winthrop Decl.”) (Dkt. 68-2) Ex. AA
  (“Agreement”) at 1. The Agreement had a three-year term and automatically renewed for
  four additional one-year terms unless terminated. Agreement at 12.

        As set forth under Section 2 of the Agreement, the following were among the tasks
  Neuropathy was responsible for performing on behalf of EMG:

        2.1 Management Services. During the term of this Agreement, Manager shall
        provide to EMG the management services set forth in this Section 2. . . . The
        Management Services shall not include services which relate to the providing of
        professional services. EMG shall be solely and exclusively in control of all aspects
        of the delivery and provision of professional services at the Practice. The
        rendering of all professional services including, but not limited to, diagnosis,
        treatment, therapy, and the supervision and preparation of all professional reports
        shall be the responsibility of EMG. Manager shall have no authority or obligation
        whatsoever with respect to the performance of clinical or professional services
        provided by the Practice. . . .

        2.5.1 Professional Staffing. EMG shall have the sole right and authority to contract
        with independent contractors or to hire, employ, train, supervise, terminate and
        compensate employees who are licensed professionals including, without
        limitation, all physicians, physician assistance, nurse practitioners, and other
        professional personnel, as applicable. . . .

        2.5.2 Non-Professional Staffing. Manager shall provide EMG with such clerical
        personnel and other non-licensed employees such as, for example, secretaries,
        receptionists, file clerks, administrators, etc. . . . . as may be reasonably required
        to perform adequate administrative services for EMG. . . .
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        2.6 Managerial and Administrative Services. Unless otherwise set forth in this
        agreement, Manager shall provide EMG the following managerial and
        administrative services:
              (a) Supervision and coordination of the day-to-day non-medical business
              functions taking place in connection with EMG’s practice;
              (b) Financial budgeting and planning for EMG’s practice;
              (c) A comprehensive information technology system and related
              administrative services, staffing and maintenance;
              (d) Development and maintenance of a website and all related pages or
              mobile application software, and related maintenance and upkeep;
              (e) The use of phone number for the purpose of general customer service. . .
        .
              (f) As requested and at the sole discretion of EMG, comprehensive quality
              assurance services utilizing third party quality evaluations for
              Professionals;
              (g) At the direction and control of EMG, prepare and maintain various
              patient intake forms for use in EMB’s Practice; and
              (h) All non-licensed managerial and administrative services unrelated to
              EMG Practice as may be reasonably required by EMG such as, for
              example, office administrative services, general administrative services,
              and fiscal management services, to the extent requested by EMG.

  Id. at 1-7. As demonstrated in the quoted portions above, the Agreement distinguished
  between “professional services” to be provided by EMG and “managerial and
  administrative services” to be provided by Neuropathy.

             iii.   The MBIC Insurance Policy

         MBIC issued a Commercial General Liability insurance policy to Neuropathy for
  the policy period of May 1, 2019 to May 1, 2020. SAC ¶ 11; SAC, Ex. A (“MBIC
  Policy”) at 37 of 177. The MBIC Policy states generally that MBIC “will pay those sums
  the insured becomes legally obligated to pay as damages because of ‘bodily injury’,
  ‘property damage’ or ‘personal and advertising injury’ to which this insurance applies”
  and “will have the right and duty to defend the insured against any ‘suit’ seeking those
  damages.” MBIC Policy at 107 of 177. The policy liability limit is $2,000,000 per
  occurrence. Pl. Mot. at 3.

         The MBIC Policy contains the following language relevant to MBIC’s defense
  and indemnity obligations:
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         [W]e will have no duty to defend the insured against any “suit” seeking damages
         for “bodily injury”, “personal property” or “personal and advertising injury”, to
         which this insurance does not apply. . . .

         This insurance does not apply to: . . . “Bodily injury”, “property damage”,
         “personal and advertising injury” caused by the rendering of or failure to render
         any professional service, advice or instruction. . . .

         Professional services include but are not limited to: . . . Legal, accounting or
         advertising services, . . . [and] [a]ny health or therapeutic service treatment,
         advice or instruction.

  MBIC Policy at 107, 113-14 of 177.

              iv.   Defense and Settlement of Claims Asserted Against Neuropathy in
                    the Bernal Action

          On October 2, 2020, Neuropathy provided notice of the Bernal Action to MBIC,
  its insurer. SAC ¶ 13. On October 15, MBIC denied coverage on the grounds that the
  claims in the Bernal Action were excluded under the Policy’s Professional Services
  Exclusion (“Exclusion”). Id. ¶ 14. On November 16, 2020, Neuropathy challenged
  MBIC’s denial of coverage. Id. ¶ 15. On February 25, 2021, MBIC informed Neuropathy
  that it would provide a defense to the Bernal Action under a full reservation of rights. Id.
  ¶ 17. On July 13, 2021, MBIC paid the $2 million policy limit to the Bernals to settle the
  claims asserted against Neuropathy. Id. ¶ 27.

         B.     Procedural History

         MBIC filed suit against Neuropathy in this Court on March 31, 2021 (Dkt. 1). This
  action was temporarily stayed while the Bernal Action was settled (Dkt. 43). On August
  13, 2021, MBIC filed its Second Amended Complaint, which includes causes of action
  for declaratory relief and reimbursement for settlement and defense payments. On
  December 23, 2021, MBIC and Neuropathy filed the instant Cross Motions for Judgment
  on the Pleadings. Each party filed an Opposition on January 10, 2022 (Dkts. 71, 74).
  Each party filed a Reply on January 18, 2022 (Dkts. 75, 76).

  II. Legal Standard
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         “After the pleadings are closed—but early enough not to delay trial—a party may
  move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). Like a motion to dismiss
  under Federal Rule of Civil Procedure 12(b)(6), a motion under Rule 12(c) challenges the
  legal sufficiency of the claims asserted in the complaint. See id. Indeed, a Rule 12(c)
  motion is “functionally identical” to a Rule 12(b)(6) motion, and courts apply the “same
  standard.” Dworkin v. Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989)
  (explaining that the “principal difference” between Rule 12(b)(6) and Rule 12(c) “is the
  timing of filing”); see also U.S. ex rel. Cafasso v. Gen. Dynamics C4 Sys., 637 F.3d 1047,
  1054 n.4 (9th Cir. 2011). Therefore, all allegations of fact by the party opposing the
  motion are accepted as true, and the complaint is construed in the light most favorable to
  the non-moving party. McGlinchey v. Shell Chem. Co., 845 F.2d 802, 810 (9th Cir.
  1988).

         As with Rule 12(b)(6) motions, “[g]enerally, a district court may not consider any
  material beyond the pleadings[.] . . . [but] material which is properly submitted as part of
  the complaint may be considered.” Hal Roach Studios, Inc. v. Richard Feiner & Co., 896
  F.2d 1542, 1555 n.19 (9th Cir. 1990) (citations omitted). Similarly, “documents whose
  contents are alleged in a complaint and whose authenticity no party questions, but which
  are not physically attached to the pleading, may be considered in ruling on a Rule
  12(b)(6) motion to dismiss[,]” or on a Rule 12(c) motion, without converting the motion
  into a motion for summary judgment. Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.
  1994), overruled on other grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119
  (9th Cir. 2002). If the documents are not physically attached to the complaint, they may
  be considered if their “authenticity . . . is not contested” and “the plaintiff’s complaint
  necessarily relies” on them. Parino v. FHP, Inc., 146 F.3d 699,705–06 (9th Cir. 1998),
  superseded by statute on other grounds by Abrego Abrego v. Dow Chem. Co., 443 F.3d
  676 (9th Cir. 2006).

         The court, however, need not accept as true allegations contradicted by judicially
  noticeable facts, see Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000), and it
  “may look beyond the plaintiff’s complaint to matters of public record” without
  converting the Rule 12(c) motion into a motion for summary judgment, Shaw v. Hahn, 56
  F.3d 1128, 1129 n.1 (9th Cir. 1995). Nor must the Court “assume the truth of legal
  conclusions merely because they are cast in the form of factual allegations.” Fayer v.
  Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (per curiam) (internal quotation marks
  omitted). Mere “conclusory allegations of law and unwarranted inferences are
  insufficient” to defeat a motion for judgment on the pleadings. Adams v. Johnson, 355
  F.3d 1179, 1183 (9th Cir. 2004).
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      III.     Discussion

          Both parties move for judgment on the pleadings on the issues of (1) whether
   MBIC had a duty to defend the claims asserted against Neuropathy in the Bernal Action
   and (2) whether MBIC has a right to receive reimbursement for money paid on behalf of
   Neuropathy for the defense and settlement of the claims asserted in the Bernal Action. Pl.
   Mot. at 1-3; Def. Mot. at 1. The Court will first address whether MBIC had a duty to
   defend Neuropathy.

          MBIC does not dispute that the Bernal Action was a “suit” potentially seeking
   damages from Neuropathy because of “bodily injury,” such that it fell within MBIC’s
   coverage. Rather, the parties dispute whether the Professional Services Exclusion in the
   MBIC Policy defeats coverage for the allegations against Neuropathy in the Bernal
   Action. MBIC asserts that the Exclusion applies to the Bernal Action, while Neuropathy
   argues it did not eliminate coverage. Pl. Mot at 6-9; Def. Mot. at 1. Therefore, the Court
   must determine whether the Exclusion applies to bar coverage for the allegations in the
   Bernal Complaint such that MBIC had no duty to defend.

          A.      Legal Standard for Duty to Defend Under California Law

          Under California law, “an insurer has a duty to defend an insured if it becomes
   aware of, or if the third party lawsuit pleads, facts giving rise to the potential for coverage
   under the insuring agreement.” Big 5 Sporting Goods Corp. v. Zurich Am. Ins. Co., 957
   F. Supp. 2d 1135, 1143 (C.D. Cal. 2013) aff’d, No. 13-56249, 2015 WL 8057228 (9th
   Cir. Dec. 7, 2015) (quoting Waller v. Truck Ins. Exch., Inc., 11 Cal. 4th 1, 19 (1995)
   (internal quotation marks omitted)). Further, “[a]n insurer must defend its insured against
   claims that create a potential for indemnity under the policy.” Id. (citing Montrose
   Chemical Corp. v. Sup. Ct., 6 Cal. 4th 287, 295 (1993) (emphasis in original)). The duty
   to defend is broader than the duty to indemnify and may apply even in an action where no
   damages are ultimately awarded. Id. (citing Horace Mann Ins. Co. v. Barbara B., 4 Cal.
   4th 1076, 1081 (1993)).

           The California Supreme Court has explained that “the determination whether the
   insurer owes a duty to defend usually is made in the first instance by comparing the
   allegations of the complaint with the terms of the policy.” Waller, 11 Cal. 4th at 19
   (citing Gray v. Zurich Ins. Co., 65 Cal. 2d 63 (1996)). “Facts extrinsic to the complaint
   also give rise to the duty to defend when they reveal a possibility that the claim may be
   covered by the policy.” Horace Mann, 4 Cal. 4th at 1081 (citation omitted). On the other
   hand, “the insurer need not defend if the third party complaint can by no conceivable
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   theory raise a single issue which could bring it within the policy coverage.” Gray, 65 Cal.
   2d at 276. Further, “where the extrinsic facts eliminate the potential for coverage, the
   insurer may decline to defend when the bare allegations in the complaint suggest
   potential liability.” Waller, 11 Cal. 4th at 19. “Notwithstanding the special features of
   insurance contracts, they are still subject to the ordinary rules of contractual
   interpretation.” Big 5 Sporting Goods, 957 F. Supp. 2d at 1143 (citation omitted). When a
   policy’s terms are plain and explicit, “courts will not indulge in a forced construction so
   as to fasten a liability on the insurance company which it has not assumed.” First Am.
   Title Ins. Co. v. XWarehouse Lending Corp., 177 Cal. App. 4th 106, 115 (2009). “Only if
   an asserted ambiguity is not eliminated by the language and context of the policy will
   courts involve the principle that ‘ambiguities are generally construed against the party
   who caused the uncertainty to exist (i.e., the insurer) in order to protect the insured’s
   reasonable expectation of coverage.’” Big 5 Sporting Goods, 957 F. Supp. 2d at 1143-44
   (quoting XWarehouse, 177 Cal. App. 4th at 115). However, courts interpret coverage
   clauses broadly. Safeco Ins. Co. of Am. v. Andrews, 915 F.2d 500, 502 (9th Cir. 1990).
   Indeed, “provisions relating to exclusions or exceptions from the performance of a basic,
   underlying obligation are construed strictly against the insurer and liberally in favor of
   the insured.” Paramount Props., 1 Cal. 3d at 569.

          B.     Discussion

          The parties dispute whether the Exclusion in the MBIC Policy applies to deny
   Neuropathy coverage for the Bernal Action. MBIC’s position is that all of the claims
   asserted in the Bernal Action arise from “Neuropathy’s scheme to advertise, recommend,
   prescribe and assist in providing stem-cell injections that caused Mr. Bernal’s
   catastrophic injuries.” Pl. Opp’n at 1. MBIC asserts that the alleged acts of wrongdoing
   “place the conduct squarely within the policy’s professional services exclusion for which
   coverage is not provided,” and argues that “none of the claims from the underlying
   Bernal action were potentially or actually covered”. Id. at 1-2 (emphasis in original).
   Neuropathy, on the other hand, argues that the Bernal FAC alleges both potentially and
   actually covered claims, since “the Bernals allege several non-professional, negligently
   performed services by Neuropathy (i.e., covered occurrences) that contributed to the
   alleged bodily and emotional injuries and damages suffered.” Def. Reply at 1.
   Particularly given “the requirement that the court construe policy exclusions narrowly,”
   Food Pro Int’l, Inc. v. Farmers Ins. Exch., 169 Cal. App. 4th 976, 991 (2008), the Court
   is persuaded by Neuropathy’s arguments.

          California courts have defined “professional services” as those “‘arising out of a
   vocation, calling, occupation, or employment involving specialized knowledge, labor, or
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   skill, and the labor or skill is predominantly mental or intellectual, rather than physical or
   manual.’” Tradewinds Escrow, Inc. v. Truck Ins. Exch., 97 Cal. App. 4th 704, 713 (2002)
   (quoting Hollingsworth v. Comm. Union Ins. Co., 208 Cal. App. 3d 800, 806 (1989)). In
   addition, “professional services” is “a broader definition than ‘profession,’ and
   encompasses services performed for remuneration.” Id. California courts have also noted
   that “the unifying factor” in applying the exclusion is based on “whether the injury
   occurred during the performance of the professional services, not the instrumentality of
   injury.” Id.; Food Pro, 169 Cal. App. 4th at 991 (“We read Tradewinds’ summation of
   the reach of the professional services exclusion as follows: the act that precipitated the
   injury need not have been one of professional malpractice, so long as the plaintiff was
   injured in the performance of the professional service.”).

          The Exclusion in the MBIC Policy defines professional services only by way of
   examples. Relevant here, under the Policy, professional services include: “[l]egal,
   accounting or advertising services” and “[a]ny health or therapeutic service treatment,
   advice or instruction.” MBIC Policy at 114 of 177.

                i.   Bernal Complaint allegations

          With the terms of the MBIC Policy in mind, the Court first looks to some of the
   pertinent allegations in the Bernal Action.

           It is clear that the Bernal FAC alleges the provision of professional services by
   Neuropathy as the term is used in the MBIC Policy. For example, it alleges that
   Neuropathy created false and misleading advertisements, Bernal FAC ¶ 4, diagnosed Mr.
   Bernal with osteoarthritis, id. ¶ 5, and advised him that the injections would alleviate his
   knee pain, id. However, the Court also finds some of Neuropathy’s conduct allegedly
   connected to Mr. Bernal’s injury potentially did not involve “specialized knowledge,
   labor, or skill” that was “predominantly mental or intellectual,” bringing it outside the
   definition of professional services. See Tradewinds, 97 Cal. App. 4th at 713. These
   include alleged acts or omissions concerning delegating Mr. Bernal’s injections to EMG,
   Bernal FAC ¶ 10, and allegedly discriminatory sales tactics, id. ¶¶ 61-62.

          Given the range of allegations in the Bernal FAC, some of which seem to fall
   outside of the professional services exclusion, the Court cannot conclude that there was
   no potential for coverage under the MBIC Policy. See Food Pro, 169 Cal. App. 4th at 989
   (“The facts available to [the insurer] at the time it denied a duty to defend thus show
   potential liability arising from the breach of a common law duty, and not from the
   performance of professional services.”); cf. Pennsylvania Nat. Mut. Cas. Ins. Co. v.
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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

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   Roberts Bros., 550 F. Supp. 2d 1295, 1306 (S.D. Ala. 2008) (“Under no ordinary
   common-sense meaning of the term is it a ‘professional service’ for a property manager
   to perform (or fail to perform) the strictly clerical task of picking up the telephone to call
   a handyman to repair a broken door.”).

               ii.   Neuropathy’s Management Services Agreement

          The Court’s inquiry, however, does not end with the Bernal FAC. Neuropathy also
   points to extrinsic evidence – the Agreement between Neuropathy and EMG. Neuropathy
   argues that the Agreement establishes that Neuropathy performed non-professional
   services that the Bernals allege contributed to the injuries they suffered. Def. Reply at 9.

          Looking to the Agreement, the Court concludes that some of Neuropathy’s duties
   were not professional services as the term is defined in the MBIC Policy. For example,
   Neuropathy’s responsibilities pursuant to the agreement included the following: “Non-
   Professional Staffing. Manager shall provide EMG with such clerical personnel and other
   non-licensed employees such as, for example, secretaries, receptionists, file clerks,
   administrators etc. . . . . as may be reasonably required to perform adequate
   administrative services for EMG.” Agreement at 6. A further provision states, “Manager
   shall provide EMG the following managerial and administrative services . . . . All non-
   licensed managerial and administrative services unrelated to EMG practice as may be
   reasonably required by EMG such as, for example, office administrative services, general
   administrative services.” Id. at 6-7.

           The language of the Agreement contemplates that Neuropathy would complete
   general administrative office tasks and other day-to-day non-medical business tasks.
   Performing such tasks would not constitute a “legal, accounting or advertising service” or
   “health or therapeutic service treatment, advice or instruction” within the meaning of the
   Exclusion, nor does the Court conclude that such a task would necessarily fall within the
   definition of professional services set out in Tradewinds.

           The Court therefore disagrees with MBIC’s argument that all of Neuropathy’s
   activities constituted professional services and that all the allegations in the Bernal FAC
   were necessarily predicated upon Neuropathy’s provision or omission of professional
   services. See Pl. Mot. at 20. MBIC has not shown the extrinsic facts – here the
   Agreement – “eliminate the potential for coverage.” Waller, 11 Cal. 4th at 19.

              iii.   Relationship between injury and professional services
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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

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          California courts that have discussed whether professional services exclusions
   apply have not stopped their analyses upon determining that a contract involves the
   provision of professional services, but rather have gone on to assess whether “the injury
   arose from the performance of a professional service,” or whether the injury merely
   occurred “at the same time the insured was otherwise providing professional services to a
   third party.” Food Pro, 169 Cal. App. 4th at 991; see also Atain Specialty Ins. Co. v. 20
   Parkridge, LLC, No. 15-CV-00212-MEJ, 2015 WL 2226356, at *10 (N.D. Cal. May 11,
   2015) (analyzing California law and concluding that determining the applicability of the
   professional services exclusion “requires a greater understanding of the services
   Defendants provided, the actual injuries claimed in the Underlying Action, and the timing
   that Defendants may have rendered or failed to render the potential professional
   services.”). The Food Pro court explained that even when “it is clear that [an insured] . . .
   provides professional services as the term is used in the [] policy,” the issue for the court
   “involves the extent of [the insured’s] professional services, the nature of [the
   employee’s] actions as they relate to the [underlying] incident, and the breadth of the
   professional services exclusion.” Food Pro, 169 Cal. App. 4th at 986.

           Here, the allegations in the Bernal Action concerning Neuropathy’s conduct as
   they relate to Mr. Bernal’s injury are somewhat unclear. On the one hand, the Bernals
   allege that “Mr. Bernal would not have agreed to the injections but for the
   misrepresentations by Superior Health Centers,” Bernal FAC ¶ 70, indicating that
   Neuropathy’s alleged misrepresentations caused Mr. Bernal’s injury. On the other hand,
   the Bernals allege that the injections Mr. Bernal received were performed without
   “proper medical recommendation,” “proper physician oversight,” “complete medical
   disclosures,” “informed consent,” “adherence to proper sterile or clean technique,” and
   “in a manner that fell far below the standard of care for joint injections,” and that “[a]s a
   result of these failures, Mr. Bernal went into septic shock, subsequently enduring
   numerous surgeries, and is now a permanent paraplegic,” id. ¶¶ 12-13, indicating that it
   was the injections themselves, which were performed by EMG and not Neuropathy, that
   caused Mr. Bernal’s injuries.

          MBIC argues that the misrepresentation and the medical treatment are two parts of
   the same event. Pl. Opp’n at 5. Neuropathy contends that while the Bernal FAC indeed
   alleges some acts by Neuropathy that constitute professional services, “the Bernals are
   alleging injuries and damages resulting from other administrative and management
   services performed by Neuropathy relating to the professional services provided by
   EMG,” particularly “the signing up of the consumer, and ‘sending’ them consumer [sic]
   to unqualified medical providers.” Def. Mot. at 16 (emphasis in original). Further,
   Neuropathy asserts that “[s]igning up consumers, sending them to a medical provider,
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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

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   collecting funds, etc., do not arise out of a ‘vocation, calling, occupation, or employment
   involving specialized knowledge, labor, or skill’ but instead are clearly administrative in
   nature.” Id.

           Based on the record before it – in particular the Bernal FAC and the Agreement
   between EMG and Neuropathy – the Court cannot definitively conclude Mr. Bernal’s
   injury arose out of Neuropathy’s rendering of or failure to render any professional
   services to Mr. Bernal. Cf. Food Pro, 169 Cal. App. 4th at 991 (finding potential for
   coverage where injury occurred while insured party was otherwise providing professional
   services to a third party).

          The Court finds that MBIC has failed to show the absence of any potential for
   coverage; MBIC has not met its burden of “provid[ing] conclusive evidence
   demonstrating that the [Professional Services Exclusion] applies.” Atl. Mut. Ins. Co. v. J.
   Lamb, Inc., 100 Cal. App. 4th 1017, 1038–39 (2002) (“An insurer may rely on an
   exclusion to deny coverage only if it provides conclusive evidence demonstrating that the
   exclusion applies.”). Thus, the Court concludes that the Bernal Action raised the potential
   for coverage under the MBIC Policy.

          MBIC argues it had no duty to indemnify Neuropathy because it had no duty to
   defend Neuropathy in the Bernal Action. Pl. Mot. at 13. Because the Court has concluded
   that MBIC had a duty to defend, MBIC’s indemnity argument also fails. Moreover, since
   the Bernal Action’s claims raised the potential for coverage under the MBIC Policy,
   MBIC was obligated to defend Neuropathy, and Neuropathy has no obligation to
   reimburse MBIC for its defense. Accordingly, the Court DENIES Plaintiff’s Motion and
   GRANTS Defendant’s Motion.

   IV. Disposition

          For the reasons explained above, the Court DENIES Plaintiff’s Motion for
   Judgment on the Pleadings and GRANTS Defendant’s Motion for Judgment on the
   Pleadings. All claims against Defendant are hereby DISMISSED WITH PREJUDICE.
   The motion hearing scheduled for February 11, 2022 is hereby VACATED.

          The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                           Initials of Deputy Clerk: kdu
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                             EXHIBIT B
Case 8:21-cv-00607-DOC-JDE Document 83 Filed 03/09/22 Page 17 of 18 Page ID #:3249



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                                       UNITED STATES DISTRICT COURT
          10
                                   CENTRAL DISTRICT OF CALIFORNIA
          11
                                              SOUTHERN DIVISION
          12

          13 MASSACHUSETTS BAY                                CASE NO.: 8:21-cv-00607-DOC-JDE
               INSURANCE COMPANY,
          14
                                 Plaintiff,                   EXHIBIT B—REPRESENTATION
          15                                                  STATEMENT
                    v.
          16
             NEUROPATHY SOLUTIONS, INC.
          17 dba SUPERIOR HEALTH CENTERS,

          18               Defendant.
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                                  Representation Statement—Case No. 8:21-cv-00607-DOC
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     1         Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Ninth
     2 Circuit Rule 3-2, Plaintiff Massachusetts Bay Insurance Company provides the

     3 following list of parties to this action as well as the names, addresses, telephone

     4 numbers, and email addresses.

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         Dated: March 9, 2022                 HAYES SCOTT BONINO ELLINGSON
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    23                                       By: /s/ Ryan Z. Keller
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    26                                           COMPANY
    27

    28
                                                       -2-
                             Representation Statement—Case No. 8:21-cv-00607-DOC
